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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

                                                                            April 6, 2023
Case No.     2:22-cv-05430-SPG-AFM                                  Date
Title        Henry Galindo v. United States of America et al




 Present: The Honorable         SHERILYN PEACE GARNETT
                                UNITED STATES DISTRICT JUDGE
                 Patricia Kim                                    Not Reported
                 Deputy Clerk                              Court Reporter / Recorder
           Attorneys Present for Plaintiff:            Attorneys Present for Defendants:
                    Not Present                                   Not Present



 Proceeding:       (IN CHAMBERS) ORDER DISMISSING ACTION

        On March 15, 2023, the Court granted Defendants’ Motions to Dismiss without
 prejudice. (ECF No. 39). In the Order, the Court noted that, “[s]hould Plaintiff seek to amend
 his Complaint, he must file the Amended Complaint within fourteen (14) calendar days from
 the issuance of this order.” (Id. at 11). In light of Plaintiff’s failure to file an amended
 complaint within the fourteen calendar days allotted by the Court, Plaintiff’s Complaint is
 dismissed, and the case is closed.

        IT IS SO ORDERED.

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                                                    Initials of Preparer   pk




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